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                             EXHIBIT A
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                  IN THE UNITED STATES DISCRIT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN

COREY TUCKER                                )
,                                           )
                                            )
              PLAINTIFF,                    ) CASE NO. 2:23-cv-13134-SFC-APP
                                            )
      VS.                                   )
                                            ) Hon. Sean F. Cox
UNITED WHOLESALE                            )
MORTGAGE, INC.                              )
                                            )
              DEFENDANT.                    )
                                            )



               DECLARATION OF PLAINTIFF COREY TUCKER

      I, Corey Tucker, state that I have personal knowledge of the facts contained

in this Declaration and if called to testify would state:

   1. I am above the age of 18 at all times relevant to my Complaint.
   2. During my employment, I received numerous positive reviews and
      commendations about my work product.
   3. My employment began on or about December 20, 2021 with the last position
      being Account Executive.
   4. Shortly beginning in my role, I began to notice differential treatment within
      the workplace.
   5. Specifically, I was assaulted both physically and verbally by my Caucasian
      coworkers while at the workplace.
   6. I reported the conduct to my supervisors.
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  7. My white coworkers would hurly insensitive or otherwise racist comments
     at me based upon my status as a Black man.
  8. These comments occurred both in person and during virtual interactions with
     my white coworkers.
  9. Despite brining this behavior to my supervisors attention multiple times, I
     was discouraged or forbidden from reporting the conduct directly to the
     Team Member Service department.
  10. After months of enduring this behavior, I was terminated without warning
      by one of Defendant’s managers for using the lavatory.
  11. I am aware of other similarly situated employees who did the same action
      and were not terminated for their actions.
  12. Upon information and belief, the coworkers who were not terminated for the
      same action were white.
  13. I do not recall signing an arbitration agreement.
  14. I was never told what I was signing nor did I understand the document or its
      implications.
  15. I did not have adequate time to review all the employment documents or
      seek legal advice on the documents. We did not agree on this.
  16. I would not have signed an arbitration agreement without further explanation
      of what arbitration is, how it works, and how it applies to the employment
      agreement for legal representation.
  I declare under penalty of perjury that the foregoing is true and accurate.



  Executed on January 30, 2024                      /s/ Corey Tucker
                                                    Corey Tucker
